Case 3:21-cv-02304-TAD-KDM Document 10-10 Filed 08/09/21 Page 1of6PagelD#: 344

Date: July 11, 2021

To Nathan Kinnard,

In that | am a member of the Christian faith, | am exercising my right to receive a
religious exemption for vaccination. First and foremost, the vaccines | oppose include
the current COVID-19 mRNA vaccines and the Jansen vaccine which are produced with
aborted fetal cell lines.

The Johnson & Johnson vaccine, the Jansen vaccine, uses retinal cells from a fetus
that was aborted in 1985 and treated in a lab since; the Pfizer and Moderna vaccines
test the mRNAs on fetal cell lines from an aborted fetus cell from 1973.1

Therefore as a faithful Christian, | cannot according to the Church tenets on conscience
which are outlined below, use any product that takes its origin in abortion. "For you
created my inmost being You knit me together in my mother's womb." Psalm 139:13.
The inmost being is sacrosanct.

Defiling of the body, many Christians, including me, believe as 2 Corinthians 7 teaches,
that we should “cleanse ourselves from every impurity of flesh and spirit.” The way |
practice my religion includes aligning myself with scriptures on issues that oppose the
wisdom of the world. What the world considers a type of remedy, a privilege, and
something to covet in 2021 but is something | consider an impurity, | do not believe that
using fetal cells from an aborted fetus for the benefit of the greater good or my personal
benefit can be reconciled. | will not knowingly participate in the process to use such a
product that violates the right to life and dishonors the lives of the unborn.

The scriptures are very specific about how those who practice Christianity should
navigate life. Ephesians 6:10-18 directs us to “put on the armor of God,” so that we can
be equipped with truth, righteousness, peace and faith.

According to the Section 564 of the Federal Food, Drug, and Cosmetic Act, a lawful
application of the terms of an emergency use authorization ("EUA") includes the right of
informed consent and the option to refuse2. The FDA's guidance on the right to
informed consent highlights the option to refuse “unapproved products.” https://
www.fda.gov/vaccines-blood-biologics/vaccines/emergency-use-authorization-vaccines-

explained

1 Fetal Cell Lines Were Used to Make the Johnson & Johnson COVID Vaccine—Here’s What That Means
3/4/2021, MSN.com

2 21 USCS § 360bbb-3

10
Case 3:21-cv-02304-TAD-KDM Document 10-10 Filed 08/09/21 Page 2 of 6 PagelD #: 345

Therefore as a faithful Christian, opposed to abortion, | cannot according to the Church
tenets on conscience which | outlined use any product that takes its origin in abortion. |
have the right to an objection of conscience regarding what is put into my body.

In that the use of these vaccines would be both a violation of my faith that opposes
abortion on the duty to adhere to moral conscience, therefore, under the teachings |
follow, am religiously and morally bound, | submit this exemption for vaccination.

Sincerely,
Rachel Magliulo
Case 3:21-cv-02304-TAD-KDM Document 10-10 Filed 08/09/21 Page 3 of 6 PagelD #: 346

Edward Via College of Osteopathic Medicine
Student Request form for Exemption from COVID-19 Vaccination
Name: Rachel Magliulo

Campus: Monroe, LA Current academic year. XX OMS 1 OMS 2_. OMS3___OMS 4

 

Email: RMagliulo@ULM.VCOM.EDU Phone: 586-718-5407

The medical curriculum at VCOM requires students to participate in early clinical experiences.
Early clinical experiences begin in Block 2 of the curriculum. Therefore, the College requires the
COVID-19 vaccination in order to complete the second block of the curriculum. The student in
participating in the early clinical experiences becomes a student medical provider, overseen by
VCOM physician faculty when providing patient care. Student medical providers, just as all
medical providers, are required to place the health and safety of their patients first. As such the
requirement for COVID-19 vaccination is required for the VCOM student medical provider to
complete the VCOM curriculum in all four years.

A student enrolled in any year of the College is considered a student medical provider when
providing patient care under VCOM faculty supervision. The College assumes liability for the
student and the supervising physician when providing oversight of the student who is providing
care, Therefore, as a private College who holds the responsibility for the care provided, VCOM
is requiring students in all four years to receive the COVID-19 vaccination. This requirement is
both for the safety of the student and for the vulnerable patients they will be caring for.

In addition to the patients cared for, the VCOM faculty and staff are exposed to VCOM students
on a weekly if not daily basis. In order to create a safe workplace, and one where physicians
who care for patients, university athletes, and others, to avoid transmitting COVID-19 the faculty
who work on campus as well as the students must participate in vaccination. This prevents the
spread of COVID-19 between the students in the classroom, the employees on campus, and the
patients being cared for.

VCOM expects a medical student to be informed on and stay abreast of evidence-based medicine
rather than the media or political opinion regarding COVID-19. There is a predominance of
evidence that vaccination is the only means to prevent the spread of COVID-19 and lead to an
assurance for the health and welfare of patients. In addition, the CDC provides guidance and
recommendations for vaccine for higher education institutions and for healthcare workers.

For the above reasons exemptions are restricted to medical conditions that prohibit vaccination
and those with proven religious exemptions.
Case 3:21-cv-02304-TAD-KDM Document 10-10 Filed 08/09/21 Page 4 of 6 PagelD #: 347

This section is to be completed by the student

Exemption is requested due to:

____ Medical Condition that prohibits receiving the vaccine. (requires a request for medical
exemption from a physician stating the medical condition is present that is listed as one where
the vaccination is contraindicated in medical literature)

State the Condition: _

OR
XX Religious Condition that prohibits receiving the vaccine.

(Religious exemption requires a note from the minister, rabbi, or chief religious officer of the
church along with a copy of the doctrine that prohibits the administration of the vaccine)

State the Exemption: | have sincerely held religious beliefs that compel me to abstain
from obtaining a COVID-19 vaccine. My sincerely held religious beliefs are outlined in more
detail in the attached letter, dated July 11, 2021, requesting an exemption from VCOM's
mandatory vaccination policy before this form was instituted as the appropriate mechanism to

request a religious exemption.

Title and contact information for the chief religious officer providing verification of
religious doctrine supporting exemption. Pastor Phil Robertson; 318-410-1777

 

(note the above may or may not qualify for exemption, and the request will be reviewed
by an independent committee that may include representatives from that religion).

Have you received other vaccinations (ie: tetanus, measles, mumps, rubella, diptheria, and
other childhood vaccinations) XX yes no

The COVID-19 Committee will review all requests, although approval is not guaranteed.

The applicant must be aware that if an exemption is approved, the student must still wear a mask
at all times on campus if they have not received the vaccination. This is also for the protection of
other students and the patients they will be caring for. (The student may also be excluded from
certain medical educational experiences (such as early clinical experiences) and/or have an
altered campus experience). This exemption if granted may also expire at any time an outbreak
occurs and/or risks outweigh the safety measures provided.
Case 3:21-cv-02304-TAD-KDM Document 10-10 Filed 08/09/21 Page 5of 6 PagelID#: 348

 

Page 3; Medical Provider Verification: Prior to completing this form, the student is requested to
read the most current CDC COVID-19 Vaccine information. Then if you are requesting
exemption, have your licensed physician complete the provider section of this form below
verifying the medical conditions that prohibit vaccination.

Student name: Birth date:

SSN:

The student is:

_____ A patient | have been caring for over time

____ A new patient requesting this exemption

Option 1: The student has a known allergy to the vaccination: type of vaccine and allergic
reaction

exhibited:

 

Option 2: | verify this student has the following Condition that is documented in medical
literature as
one that prohibits vaccination:

 

Is the condition permanent? __—ss—syes' ss =|§_ sin
If not permanent, the student will be asked to defer education for one year to a time when the
vaccination will not be required
| recognize that this form is requesting medical opinion based upon fact and not personal belief
and warrant this recommendation is based upon current medical evidence-based literature.
Cite literature:

| verify that this student will not be at increased risk for serious illness or death from
COVID-19 (over other vaccinated students) in providing care in a medical environment to
patients who may or may not be ill with COVID-19. (students will be involved in patient care in
all four years of medical school)

| verify that this student will be at increased risk from serious illness or death from
COVID-19 (over other vaccinated students)a nd verify that the risk of the vaccine is also equally
serious and a recommendation is below:

a deferral until the risk of COVID-19 is mitigated.
the student is able to safely participate in patient care with a mask and standard

precautions without serious risk to his or her health that is greater than that of

vaccinated students
Signature of medical physician:
State medical license number:
Copy of license (attach).

 

 

 

Page 3: Religious Exemption:
To be completed by the minister, rabbi, or religious leader of the student’s church

The following student will be involved in the medical care of patients and will be likely exposed to
COVID-19. | verify by checking the information below that the person listed in this 3 page
document should be exempt from vaccination, which would allow the student to be exposed to
COVID-19 unprotected and risk contracting COVID-19 with complications up to death.

Name of Student: Rachel Magliulo Date: 7/18/2021
—— —Gase 3:24-6v-02304.TAD-KDM—Document 10-10 Filed 08/09/21 Page 6 of 6 PagelD #: 349

The doctrine of our Church and the doctrine followed by the sincerely held religious beliefs of Ms.
Magliulo and myself arise solely from the inerrant and infallible Word of Scripture. Indeed. as //
Timothy 3:16-17 states, “All scripture is given by inspiration of God, and is profitable for
doctrine, for reproof, for correction, for instruction in righteousness: That the man of God may
be perfect, thoroughly finished unto all good works.” (emphasis added). Thus. it is the complete
work of Scripture that_is the basis of doctrine for Ms. Magliulo and our Church. In fact, as the
Scriptures inform us, man _is prohibited from establishing his own doctrine by adding to the
doctrine made explicit by Scripture alone. See Deuteronomy 4:2. Revelation 22:18-19. Thus. the
doctrinal statement requested by this form is the Bible itself and the Bible alone. See
https://Awww.kingjamesbibleonline.org/ . Here are some additional scripture references that set
forth the doctrine of our church: __, . _.

é fen. a Airey ore. CF ah hot ht —; ace Clee wn oN

 

Hber ested, Cn ne ey Fp Ae eT Bae, LI he Ge Cig 4
L. . federated AS Lo x ee? anomie wee W2E Fin, eas cag, bern Creed

-

Zo To D Ay pp
(C2. 225-7 cay 150-9

Does the church doctrine pfohibit all vaccinations? yes_ (no X OTHER

As indicated above, the Church believes that individual believers are able to discern the answer
to important questions concerning their health, lives, and eternal soul. The Lord delights in the
prayers of His people (Proverbs 5:8), and specifically instructs believers that if they lack wisdom
on any issue to simply pray and ask. Indeed, as the Bible says, “If any of you lack wisdom, let
him ask of God, that giveth to all men liberally and upbraideth not, and it shall be given him.”
James 1:5. As a matter of Scriptural doctrine, therefore. al! Believers are able to obtain the
specific insight into decisions concerning vaccines on each individual basis and at any time that
they may encounter such decisions.

Ci <— ne ol Lich SS Pf gerry
ee fe

pcs sas

Sign ture of Rabbi, mpistes or religious leader:
z

Address and phone number: CZ Va

6 SY Ml 2] ae iff oe ta P BBacerten a Ce LE

F 2

Contact Information: Dope,

eos

. a ao
Leet Sa Mea Lets LP att ao Be LG
a

Please attach copy of your credentials:

cA hearer BD Leer” /

Jote the College retains the right to consult with other church leaders to verify this exemption.
In addition, the student may be asked to defer their education for up to one year when the need

for COVID-19 vaccination will likely be mitigated.
